      Case 3:20-cv-00210 Document 2 Filed 03/23/20 Page 1 of 21 PageID #: 7




                           UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

------------------------------------------------------------- X
ANTHONY ZAPPIN,

                                   Plaintiff,                              3:20-cv-00210
                                                                  Case No. _____________________

                         - against -
                                                                  COMPLAINT
J. RICHARD SUPPLE, JR.,
HINSHAW & CULBERTSON LLP,                                         Jury Trial Demanded

                                    Defendants.
------------------------------------------------------------- X

        Plaintiff Anthony Zappin (“Plaintiff”) hereby brings this action against Defendants J.

Richard Supple Jr. (“Supple”) and Hinshaw & Culbertson LLP (“H&C”) alleging the following:

                                                THE PARTIES

        1.       Plaintiff Anthony Zappin is a citizen of the State of West Virginia.

        2.       Upon information and belief, Defendant J. Richard Supple. Jr. is a citizen of the

State of New York. Supple was formerly a partner at the law firm Hinshaw & Culbertson LLP in

the firm’s New York, New York office.

        3.       Upon information and belief, Defendant Hinshaw & Culberston LLP is a limited

liability partnership organized under the laws of the State of Illinois and maintains its principal

place of business at 151 North Franklin Street, Suite 2500, Chicago, Illinois, 60606.

                                       JURISDICTION AND VENUE

        4.       This Court has subject matter jurisdiction in this action pursuant to 28 U.S.C. §

1332(a)(1) because Plaintiff has a different citizenship (West Virginia) from each of Defendants

(New York, Illinois) in this action. Additionally, the amount in controversy exceeds $75,000.00,

exclusive of interest and costs.
      Case 3:20-cv-00210 Document 2 Filed 03/23/20 Page 2 of 21 PageID #: 8




        5.      Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391 because a

substantial part of the events and/or omissions giving rise to the claims in this action occurred in

this Judicial District.

                                    FACTUAL ALLEGATIONS

        6.      This action arises from Defendants’ representation of Plaintiff in an attorney

disciplinary matter brought against Plaintiff by the Attorney Grievance Committee for the First

Judicial Department (“Grievance Committee”) located in New York, New York. In the course of

representing Plaintiff, Defendants were woefully negligent and, at numerous times, deliberately

harmful and injurious to Plaintiff’s defense in the attorney disciplinary matter. As a result, Plaintiff

has suffered immense damages that he seeks to redress in this action.

        I.      BACKGROUND

        7.      This action has its origins in Plaintiff’s personal divorce and child custody matter

filed against his ex-wife Claire Comfort (“Ms. Comfort”), which was captioned Anthony Zappin

v. Claire Comfort, Index No. 301568-2014 formerly pending in New York County Supreme Court.

                A.        Initial Proceedings Before The Superior Court for the District of Columbia

        8.      Plaintiff and Ms. Comfort had a short relationship that began in late 2012. They

were married in May 2013 shortly after Plaintiff learned that Ms. Comfort had unexpectedly (at

least to Plaintiff) become pregnant. Their child was born on October 6, 2013.

        9.      On November 10, 2013, just weeks after the child was born, Ms. Comfort and her

father, Brian Comfort,1 abducted Plaintiff’s child from Plaintiff and Ms. Comfort’s marital

residence in the District of Columbia. The one (1) month old child was flown over 3,000 miles to

Tacoma, WA without Plaintiff’s consent where the child was effectively hidden from Plaintiff by


        1
          Brian Comfort is an attorney purportedly admitted to practice law in the State of Washington. It
appears that at least part of Brian Comfort’s law practice involves matrimonial and family court litigation.
                                                     2
     Case 3:20-cv-00210 Document 2 Filed 03/23/20 Page 3 of 21 PageID #: 9




Ms. Comfort and her father. At the time, Ms. Comfort was suffering from post-partem depression,

which is documented in medical records, and refused to seek medical treatment. Indeed, Ms.

Comfort described herself as “unstable” and in need of “getting help” in text messages to Plaintiff

during the abduction of the child. (See Ex. 2, DC Petition and Emergency Motion dated 11/13/13.)

       10.     Plaintiff, through counsel, filed a petition for custody and a motion for the

emergency return of the child on November 13, 2013 in the Superior Court for the District of

Columbia (“DC Superior Court”).        (See Ex. 2, DC Petition and Emergency Motion dated

11/13/13.) Notably, included in Plaintiff’s filing were allegations of domestic violence that

Plaintiff claimed in detail were committed against him by Ms. Comfort. (See id.) It should be

further noted that Ms. Comfort subsequently admitted in sworn document to committing some of

the acts of domestic violence Plaintiff alleged in his November 13, 2013 filings in the DC Superior

Court, which were wholly ignored by the New York matrimonial court (i.e., Justice Deborah

Kaplan and Justice Matthew F. Cooper).

       11.     A hearing was held before Judge Jennifer De Torro in the DC Superior Court on

November 13, 2013 with respect to Plaintiff’s emergency motion for the return of the child. Judge

Di Torro issued an order directing Ms. Comfort to immediately return the child to the District of

Columbia.

       12.     Upon learning of the filing of Plaintiff’s child custody petition in DC Superior

Court, Ms. Comfort (aided and assisted by her father Brian Comfort) began an erratic cascade of

filings in multiple jurisdictions and courts. In this filing, Ms. Comfort, for the first time ever,

began (falsely) accusing Plaintiff of domestically abusing her beginning less than a week before

the birth of the child (and never during the prior year of their relationship) as a defense to her

abduction of the child and in response. However, in the span of just one (1) week, Ms. Comfort



                                                3
     Case 3:20-cv-00210 Document 2 Filed 03/23/20 Page 4 of 21 PageID #: 10




filed three (3) separate sworn statements with courts in Washington State and the District of

Columbia with wildly different accounts (e.g., different dates of alleged incidents, different

supposed injuries, different numbers of alleged incidents) as to her plainly bogus allegations of

domestic violence. Notably, Ms. Comfort changed, altered and expanded her allegations in each

subsequent sworn statement each time Plaintiff or his counsel presented Ms. Comfort or her

counsel with evidence undermining the allegations in the previous sworn statement.

       13.     A pendente lite hearing on child custody and visitation was scheduled before Judge

Di Torro in the Domestic Relations Branch of the DC Superior Court for November 20, 2013. The

hearing was thwarted, however, by Ms. Comfort filing for a second ex parte temporary order of

protection in the Domestic Relations Branch of the DC Superior Court three (3) hours before the

start of the pendente lite hearing before Judge Di Torro.2 In her Domestic Violence Branch

petition, she radically altered her allegations of domestic violence from what she alleged in her

two (2) prior sworn statements, which was an effort to stifle Plaintiff’s defense and thwart the

pendente lite custody hearing from taking place that day. As a result of Ms. Comfort’s clear

gamesmanship, the pendente lite hearing was adjourned to March 2014 so as to allow Plaintiff to

gather evidence and prepare a defense for Ms. Comfort’s radically altered and third set of

conflicting abuse allegations.

       14.     In the interim, however, Ms. Comfort once again moved the child without consent

or authorization from Plaintiff or the DC Superior Court from Tacoma, Washington to New York

City in February 2014. This undermined and thwarted the DC Superior Court’s jurisdiction over

the child custody proceeding pending there. Plaintiff then filed for divorce from Ms. Comfort in


       2
           As mentioned above, Ms. Comfort obtained an ex parte temporary order of protection in Pierce
County Superior Court in Washington State on November 13, 2014 via a kiosk the day after learning of
Plaintiff’s custody petition and emergency motion filed in DC Superior Court.


                                                  4
     Case 3:20-cv-00210 Document 2 Filed 03/23/20 Page 5 of 21 PageID #: 11




New York County Supreme Court in February 2014 after the DC Superior Court deemed itself an

inconvenient forum to determine the issue of child custody and visitation.

        15.     At this stage, Plaintiff had by Ms. Comfort’s (and her father Brian Comfort’s)

design became stuck in a crooked and undoubtedly biased family court system. To make matters

worse, the last custody and visitation arrangement before entering the New York court system was

not based on any evidence, facts or testimony. Rather, it was agreed to by the parties so that

Plaintiff could prepare a defense in the face of Ms. Comfort’s gamesmanship whereby she radically

altered and falsified domestic violence allegations in last minute filings in the DC Superior Court.

However, it was this custody and visitation arrangement that became de facto permanent custody

and visitation arrangement throughout the New York proceedings to the clear and undeniable

prejudice of Plaintiff.

                B.        The New York Divorce Proceeding before Justice Deborah Kaplan

        16.     Plaintiff’s divorce suit filed in New York County Supreme Court was assigned to

Justice Deborah Kaplan. The case was styled as Anthony Zappin v. Claire Comfort, Index No.

301568-2014, the matter from which the instant case stems. At this time, Plaintiff was represented

by the firm Aronson, Mayefsky & Sloan LLP (“AMS”). However, the case was marred by bizarre

conduct by Justice Kaplan, most notably Justice Kaplan’s imposition of supervised visitation on

Plaintiff without affording him a pendente lite hearing required by New York law, previously

agreed to by Plaintiff and Ms. Comfort in DC Superior Court and requested by Plaintiff

incessantly. See Carlin v. Carlin, 52 A.D.3d 559, 560 (N.Y. 2008) (“As a general rule, while

temporary custody may be properly affixed without a hearing where sufficient facts are shown by

uncontroverted affidavits, it is an error as a matter of law to make an order respecting custody,




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     Case 3:20-cv-00210 Document 2 Filed 03/23/20 Page 6 of 21 PageID #: 12




even in a pendente lite context, based on controverted allegations without having the benefit of a

full hearing.”).

        17.        Between April 2014 and July 2014, Plaintiff’s counsel AMS requested a pendente

lite hearing to determine temporary custody and to remove Justice Kaplan’s clearly unlawful

imposition of supervised visitation on four (4) separate occasions. At each of these proceedings,

Justice Kaplan refused to go on the record so as to allow Plaintiff to document and potentially

appeal Justice Kaplan’s orders denying his requests.            At this time, Plaintiff was paying

approximately $10,000 a month in costs associated with supervised visitation – well exceeding his

salary as a junior associate attorney. This was in addition to incurring substantial counsel fees

from AMS. In effect, Justice Kaplan’s refusal to provide Plaintiff with a legally required pendente

lite hearing while continuing to direct supervised visitation played right into the strategy of Ms.

Comfort, which was to financially crush Plaintiff out of the litigation and deprive Plaintiff of the

financial ability to see his child.

        18.        As a result, in July 2014, Plaintiff had to make the impossible financial choice of

whether to continue to see the child or continue being represented by AMS and incurring legal

fees. Plaintiff made the difficult decision to represent himself pro se so as to financially allow him

to see his child, which was entirely as a result of Justice Kaplan’s unlawful refusal to afford

Plaintiff a pendente lite hearing as required by law. Plaintiff’s decision to represent himself pro

se – so that he could continue to see his child – was attacked at every turn by Justice Kaplan and

subsequently Justice Matthew Cooper. In effect, Plaintiff’s decision to represent himself pro se in

order to continue to have the financial ability to see his child painted a target on him for corrupt

judicial actors like Justice Kaplan and Justice Cooper to shoot at and to justify their unlawful and

unwarranted orders throughout the litigation.



                                                    6
     Case 3:20-cv-00210 Document 2 Filed 03/23/20 Page 7 of 21 PageID #: 13




        19.     In an appalling act of corruption, after Plaintiff fired AMS, Justice Kaplan

appointed Harriet Newman Cohen as the so-called “Attorney for the Child” at an unconscionable

rate of $600 per hour. Justice Kaplan did so without notice, consultation or an opportunity to be

heard by the parties, which was particularly appalling given Ms. Cohen’s exorbitant rate of $600

per hour to represent a child less than one (1) year old. It was later discovered by Plaintiff that at

the time of her appointment, Ms. Cohen was not qualified by the Appellate Division First

Department to be appointed as an Attorney for the Child in New York State in contested custody

matters. Even more disconcerting, it was revealed that Ms. Cohen and her firm were substantial

campaign donors to and participants in Justice Kaplan’s election campaign for New York County

Supreme Court Justice. This raised serious ethical questions, most notably whether the egregious

$600 per hour fee awarded to Ms. Cohen without notice to the parties was some form of a kick-

back by Justice Kaplan.

        20.     Approximately one (1) month after Ms. Cohen’s appointment in October 2014,

Justice Kaplan indefinitely “stayed” the case after Plaintiff filed a motion to recuse her as Attorney

for the Child. Plaintiff’s motion was based on several disconcerting and largely unrefuted actions

by Ms. Cohen.3 This notably included: (i) Ms. Cohen serving unnoticed secret subpoenas on

Plaintiff’s medical providers without court authorization and then harassing those medical




        3
          In addition to egregious misconduct within the context of Zappin v. Comfort, Ms. Cohen had also
made patently sexist, discriminatory and bigoted public remarks concerning men. See “Divorce Lawyers
Criticized            by           Consumer            Affairs       Chief,”          available          at
https://www.nytimes.com/1992/03/13/nyregion/divorce-lawyers-criticized-by-consumer-affairs-
chief.html;         see         also         “Trouble        in      Splitsville,”      available        at
http://nymag.com/nymetro/news/crimelaw/features/1670/ (characterizing Ms. Cohen as a “vocal feminist
who is disdained by many of her colleagues at the bar” and quoting Ms. Cohen as demanding women
receive “very, very substantial child support, the nannies that she needs, her traveling, her clothing … a
townhouse and a chauffeur-driven car” in divorce proceedings). Ms. Cohen’s bigoted public statements
and her vocal third-wave feminist anti-male diatribes fundamentally called into question her ability to act
in the best interests of the child as an Attorney for the Child.
                                                    7
     Case 3:20-cv-00210 Document 2 Filed 03/23/20 Page 8 of 21 PageID #: 14




providers; (ii) Ms. Cohen’s bias in failing to serve subpoenas on Ms. Comfort’s medical providers,

which would have had information relevant to her allegations of domestic violence as well as Ms.

Comfort’s history of drug and alcohol abuse; (iii) Ms. Cohen making blatantly false, fabricated

and incendiary allegations that Plaintiff had abused the child with a thermometer, allegations that

were refuted by supervisors and later affirmatively abandoned by Ms. Cohen; (iv) Ms. Cohen

repeatedly violating and disregarding court orders, including with respect to the confidentiality of

the forensic custody evaluation report; (iv) Ms. Cohen admittedly failing to conduct any

investigation into the facts of the case, which was further reflected by her billing statements, as

required by the guidelines for Attorneys for the Child in the Appellate Division First Department

and instead taking an unqualified “Believe Her” (i.e., Ms. Comfort) approach to the case; and (v)

Ms. Cohen making numerous knowing and variable misstatements and misrepresentations to the

New York court about Plaintiff and the child.

       21.     Plaintiff was eventually required to withdraw the disqualification motion as Justice

Kaplan refused to decide it after months of waiting for a decision by Justice Kaplan, despite the

urgency of the case. While the “stay” resulting from the motion was ongoing, Plaintiff was still

incurring tens of thousands of dollars a month in costs for supervised visitation and was unable to

hire counsel. More importantly, the imposed “stay” resulting from the motion and Ms. Cohen’s

misconduct was being used by Justice Kaplan to frustrate Plaintiff’s requested pendente lite

hearing on child custody and lifting the unconstitutionally imposed supervised visitation.

       C.      Plaintiff’s New York Court of Claims Lawsuit

       22.     As the Zappin v. Comfort matter continued, it became increasingly frustrating for

Plaintiff. Justice Kaplan refused to make any effort to move the case forward. For instance, she

refused to issue any order, written or otherwise, that would enable him to appeal her imposition of



                                                 8
     Case 3:20-cv-00210 Document 2 Filed 03/23/20 Page 9 of 21 PageID #: 15




supervised visitation. Likewise, Justice Kaplan used any excuse to deny Plaintiff his right to a

pendente lite hearing. Plaintiff was being financially overwhelmed with the cost of supervised

visitation, particularly given the fact it prevented him from hiring counsel. And, most notably,

Justice Kaplan allowed Ms. Cohen to engage in a mountain of misconduct prejudicial to Plaintiff,

as mentioned supra, with no consequences whatsoever. At this stage and as a result of the harm

that was being inflicted on Plaintiff’s child, Plaintiff started to become vocally critical of Justice

Kaplan on the Internet.

       23.     In March 2015, Plaintiff unearthed an otherwise buried transcript of the criminal

trial of Justice Kaplan’s father in the Eastern District of New York. Justice Kaplan’s father was a

drug dealer and hitman for a notable crime family in New York City. In the transcript, Justice

Kaplan testified in her father’s defense. In her testimony, Justice Kaplan appeared to make several

damning admissions, which included: (i) she frequented the warehouse/building where her father

operated his criminal enterprise; (ii) money from her father’s criminal enterprise was used to pay

for her husband’s legal education; and (iii) her father’s assets, including the family home, were

transferred into her name (presumably in an attempt to avoid criminal forfeiture). (See Ex. 3,

Excerpt of Transcript of Deborah Kaplan’s Testimony.) Most notably, however, Justice Kaplan

disparaged a domestic violence victim who was a key witness in the prosecution’s case against of

her father. (See id.) Justice Kaplan subsequently became aware that Plaintiff had obtained the

buried transcript. Plaintiff had given it to several other fathers who had cases pending before

Justice Kaplan and were experiencing similar difficulties. As a result, the transcript eventually

made its way to the Internet and was spreading throughout the courthouse.

       24.     On April 24, 2015, a conference was held before Justice Kaplan in Zappin v.

Comfort. At the conclusion of the hearing, Plaintiff was quietly waiting for his counsel in the



                                                  9
    Case 3:20-cv-00210 Document 2 Filed 03/23/20 Page 10 of 21 PageID #: 16




gallery. For no apparent reason, Plaintiff was grabbed from the gallery by Justice Kaplan’s

personally assigned court officer, Jeffrey Katz (“Officer Katz”). Plaintiff was then hauled and

shoved to a side hallway by Justice Kaplan’s courtroom, pushed against a wall and confined for

several minutes without explanation by Officer Katz. As a result of the incident, Plaintiff had

several serious injuries and was treated at a New York hospital. In true Mafioso form, both Justice

Kaplan and Officer Katz denied that anything took place, despite detailed evidence of Plaintiff’s

injuries.

        25.    On April 30, 2015, Plaintiff filed an action in the New York Court of Claims against

Officer Katz and Justice Kaplan relating to the above-described incident on April 24, 2015. (See

Ex. 4, Zappin Court of Claims Complaint.) It was served by certified mail on the New York

Attorney General’s Office on May 5, 2015. Just over two (2) weeks later, Justice Kaplan was not

only removed from the Zappin v. Comfort matter, but she was stripped of over ninety-percent

(90%) of her caseload and reassigned to an administrative position in the New York Unified Court

System with the title “Statewide Coordinating Judge for Family Violence.” 4 (See Ex. 5, FOIL

Spreadsheet of Justice Kaplan’s Reassigned Cases.)

        II.    THE SCHEME TO RETALIATE AGINST AND DISCREDIT PLAINTIFF BY
               NEW YORK OFFICIALS

        26.    As set forth above, within days of Plaintiff filing his Court of Claims action, Justice

Kaplan was effectively removed from the bench. As a result, the Court of Claims action, Plaintiff’s

open criticism of Justice Kaplan’s unlawful decisions (which included filing a mandamus

proceeding against her to try to force a pendente lite hearing) and Plaintiff’s unearthing the



        4
          Justice Kaplan’s reassignment was announced on the “News and Announcements” webpage for
the New York Unified Court System. However, it was later taken down. It can now only be found on the
archive                              site.                                                      See
https://www.nycourts.gov/courts/1jd/supctmanh?News_&_Annoucements_Archive.shtml.
                                                 10
    Case 3:20-cv-00210 Document 2 Filed 03/23/20 Page 11 of 21 PageID #: 17




transcript containing Justice Kaplan’s damning testimony in her father’s criminal case, Plaintiff

became a target as he was seen as a threat to Justice Kaplan’s rising career in the judiciary. A

small group within the New York Unified Court System, the New York Office of Court

Administration and the NYAGC banded together to plot a scheme to use and manipulate the

Zappin v. Comfort divorce action as a means to publicly disgrace, discredit and eventually disbar

Plaintiff in retaliation for Plaintiff uncovering the transcript of Justice Kaplan’s testimony as well

as his New York Court of Claims action filed against her. This group was led by three (3)

individuals: Justice Deborah Kaplan, Justice Matthew Cooper and Kevin M. Doyle, a crooked and

corrupt staff attorney for the NYAGC.

               A.      The Unusual and Unexplained Transfer of Zappin v. Comfort to Justice
                       Matthew Cooper

       27.     After Justice Kaplan was transferred to an administrative position in May 2015 just

days after the New York State Attorney General was served with Plaintiff’s Court of Claims

complaint against her, Zappin v. Comfort was transferred to Justice Matthew Cooper on May 22,

2015 (with the first appearance being July 22, 2015) under highly irregular circumstances. Zappin

v. Comfort was one of the first, if not the first, case transferred from Justice Kaplan’s docket. (See

Ex. 5, FOIL Spreadsheet of Justice Kaplan’s Reassigned Cases.) Even more astonishing, out of

approximately 150 cases transferred from Justice Kaplan’s docket, Zappin v. Comfort was

the only case transferred to Justice Cooper. (See id.) Justice Kaplan’s remaining cases were

transferred to newly appointed judge, Justice Frank Nervo. (See id.)

       28.     The transfer to Justice Cooper was peculiar for a number of reasons. First, Justice

Cooper was a longtime friend and defender of Justice Kaplan. Indeed, both Justice Kaplan and

Justice Cooper came up through the New York court system in nearly identical fashion. Moreover,




                                                 11
     Case 3:20-cv-00210 Document 2 Filed 03/23/20 Page 12 of 21 PageID #: 18




upon information and belief, Justice Cooper did work for and/or worked with Justice Kaplan’s

father when Justice Cooper was an attorney for the Teamsters in New York.

        29.      Second, and more importantly, Justice Cooper was well-known for having a

penchant for publicly embarrassing and deriding litigants. In the months before being assigned to

Zappin v. Comfort, Justice Cooper was responsible for numerous headlines in The New York Post

and The New York Daily News ridiculing and shaming litigants. These included, but were not

limited to:

                          “Divorce Judge Slams ‘Bed-Pooping, Cokehead’ Banker, Alcoholic Wife”
                          by Julia Marsh, published in The New York Post, available at
                          https://nypost.com/2015/01/08/judge-blasts-banker-wife-for-horrible-
                          fiasco-of-a-divorce/5;

                          “Judge Calls Carnegie Deli Manager ‘The Shyster of Smoked Meat’” by
                          Julia Marsh, published in The New York Post, available at
                          https://nypost.com/2015/08/05/judge-calls-carnegie-deli-manager-the-
                          shyster-of-smoked-meat/;

                          “Judge Slam Paul George For Being a Deadbeat Dad,” by Julia Marsh,
                          published      in    The    New       York     Post,     available    at
                          https://nypost.com/2014/09/23/judge-slams-nba-star-for-being-a-deadbeat-
                          dad/; and

                          “Judge Rips ‘Broke’ Deadbeat Dad Who Skied in Alps,” by Julia Marsh,
                          published      in    The     New     York      Post,   available  at
                          https://nypost.com/2015/05/14/deadbeat-dad-claimed-poverty-while-
                          taking-european-ski-trips/.6

And, to make matters worse, Justice Cooper had just months prior given testimony before the New

York Assembly in which he stated that he “shamed” matrimonial litigants into outcomes he



        5
        Notably, the father in this custody dispute lost his job as a result of the article instigated by Justice
Cooper and published in The New York Post.
        6
          It should be noted that Justice Cooper apparently engaged in ex parte communications with Julia
Marsh, the New York Post reporter who published the disgraceful article, presumably to instigate the
publication of the article to publicly embarrass Mr. Phillips. (See Ex. 6, E-mail from I. Phillips to A.
Zappin.)
                                                       12
    Case 3:20-cv-00210 Document 2 Filed 03/23/20 Page 13 of 21 PageID #: 19




believed were just, even when those outcomes did not comport with the law. As discussed further

below, Justice Cooper employed the same unethical and shameful tactics in Zappin v. Comfort of

publicly shaming Plaintiff in The New York Post and The New York Daily Mail as part of the

ongoing scheme and ploy to discredit and publicly disgrace Plaintiff in retaliation for his First

Amendment-protected criticisms of and legal actions taken against Justice Kaplan.

        30.     Despite numerous inquiries, Plaintiff never received an explanation from the New

York court or the New York Office of Court Administration why Zappin v. Comfort was singled

out and assigned to Justice Cooper. However, based on the subsequent behavior of both Justice

Cooper and the NYAGC, it was apparent that the Zappin v. Comfort proceeding was being used

and manipulated to retaliate against Plaintiff. This was apparent throughout the proceeding.

        D.      A Brief History of the New York Divorce Proceeding before Justice Cooper

        31.     Justice Cooper began formally presiding over Zappin v. Comfort on July 22, 2015.

Without Plaintiff even opening his mouth in Justice Cooper’s courtroom, Justice Cooper unjustly

and without notice or opportunity to be heard sanctioned Plaintiff on September 18, 2015 as part

of the scheme to retaliate against Plaintiff for his criticisms and legal actions taken against Justice

Kaplan.      See Zappin v. Comfort, 2015 NY Slip Op 51339(U) (hereinafter, the “Sanctions

Decision”). The Sanctions Decision contained numerous misstatements and misrepresentations

concerning Plaintiff’s conduct. (See Ex. 7, Addendum of Justice Cooper’s Misconduct and Biased

Behavior in Zappin v. Comfort.)         Indeed, as shown in Plaintiff’s chart, Justice Cooper’s

misstatements and misrepresentations were verifiably inaccurate based on the Zappin v. Comfort

record.7 (See id.)



        7
         It should be noted that Plaintiff appealed Justice Cooper’s Sanction Decision to the Appellate
Division First Department. Among the various issues raised, Plaintiff asserted that he was denied notice
and an opportunity to defend himself with respect to the sanction and Justice Cooper’s questioning his
                                                  13
    Case 3:20-cv-00210 Document 2 Filed 03/23/20 Page 14 of 21 PageID #: 20




        32.     Most importantly, though, Justice Cooper engaged in outrageous, egregious and,

most notably, prejudicial behavior by admittedly personally disseminating the Sanctions Decision

to the press (specifically, The New York Law Journal, The New York Post and The New York Daily

News) to incite media coverage of the Sanctions Decision and the Zappin v. Comfort matter.8 Not

only was this conduct extrajudicial behavior, but it was in direct violation of New York Domestic

Relations Law Section 235, a statutory provision which specifically prohibits judges from

disseminating files in matrimonial cases in New York. Notably, the United States District Court

for the Southern District of New York has held that Justice Cooper’s act of personally

disseminating the Sanctions Decision to the media was an extrajudicial act.

        33.     Apart and aside from the numerous misrepresentations of fact in the Sanctions

Decision, the intent to inflict harm on Plaintiff through disseminating the Sanctions Decision was

apparent: (i) Justice Cooper openly and publicly questioned Plaintiff’s fitness to practice law

without affording him any notice or opportunity to be heard prior to making such declarations; (ii)

Justice Cooper publicly branded Plaintiff as a domestic abuser before a single document was

entered into evidence by prominently and repeatedly stating that Ms. Comfort had accused Plaintiff

of domestic violence in the Sanctions Decision despite Ms. Comfort’s allegations being

impertinent to the motions then pending before Justice Cooper and the fact that Plaintiff was first

to allege he had been domestically abused by Ms. Comfort; and (iii) Justice Cooper resorted to

petty name calling to catch headlines by asserting that Plaintiff was a “fool.” Zappin v. Comfort,

2015 NY Slip Op 51339(U) (2015).



ability to practice law. The Appellate Division First Department affirmed the Sanction Decision in a
perfunctory order failing to address Plaintiff’s constitutional arguments.
        8
         It should be noted that Justice Cooper provided the press with an advanced draft of the Sanctions
Decision, which differed in formatting and contained typographical errors.
                                                   14
    Case 3:20-cv-00210 Document 2 Filed 03/23/20 Page 15 of 21 PageID #: 21




       34.     Plaintiff consequently suffered extreme harm as a result of Justice Cooper’s

improper, unlawful and extrajudicial conduct surrounding the Sanctions Decision. This including

Plaintiff losing his job at Mintz Levin (which affected his ability to hire counsel for the November

2015 child custody trial ordered by Justice Cooper and otherwise prosecute the case) and creating

unnecessary and harmful tabloid media coverage over the case that was largely disparaging to

Plaintiff and irreparably harmful to the child. Importantly, as a result of Plaintiff losing his job,

he could not afford to hire trial counsel for the child custody trial in Zappin v. Comfort, which he

had planned to do.

       35.     No reasonable person would disagree that the Sanctions Decision was part and

parcel to the scheme to retaliate against Plaintiff. Indeed, without Plaintiff having any opportunity

to defend himself, Justice Cooper violated New York sealing laws by publicly issuing the

Sanctions Decision and personally disseminating it to the tabloid media in an effort to publicly

humiliate, disgrace and destroy Plaintiff. This intent was apparent by the fact that Justice Cooper

publicly questioned Plaintiff’s ability to practice law without notice or an opportunity to defend

himself as well as labeled Plaintiff a domestic abuser before a single piece of evidence was placed

before the matrimonial court. Indeed, as discussed infra, the Sanctions Decision was the catalyst

for the NYAGC and Kevin Doyle to initiate a blatantly harassing and unfounded “sua sponte”

attorney disciplinary investigation against Plaintiff. In other words, the Sanctions Decision was

written, published and disseminated to the press in conjunction with the NYAGC and its staff

attorney Kevin Doyle.

       36.     It must be noted, though, Justice Cooper’s improper, unlawful and extrajudicial

behavior with respect to the Sanctions Decision created an apparent and serious conflict of interest

in the proceeding.     By engaging in extrajudicial conduct by personally disseminating his



                                                 15
    Case 3:20-cv-00210 Document 2 Filed 03/23/20 Page 16 of 21 PageID #: 22




disparaging and verifiably untrue statements to the tabloid press through the Sanctions Decision,

it put Justice Cooper in a position where his credibility was not publicly at issue and in direct

conflict with Plaintiff’s credibility. Moreover, by engaging in unlawful and extrajudicial conduct

that caused Plaintiff to lose his job and incited disparaging publicity towards him, it unquestionably

placed Justice Cooper in a position where his future rulings had to justify the harm he inflicted on

Plaintiff, particularly when making rulings concerning child custody and visitation. This was

particularly so with respect to Ms. Comfort’s allegations of domestic violence. Specifically, no

reasonable person would conclude that he was in a position to fairly adjudicate the parties’

allegations of domestic violence given that Justice Cooper violated state sealing law and publicly

branded Plaintiff a domestic abuser – which caused Plaintiff to lose his job – before the start of the

child custody trial before a single piece of evidence was placed in the trial record. In other words,

Justice Cooper was in a compromised position and was not going to subsequently dismiss Ms.

Comfort’s domestic violence allegations at trial after he publicly credited them in the Sanctions

Decision. Moreover, most significantly, by personally and deliberately inciting and exposing the

child to tabloid media coverage in a sealed child custody matter pending before him, it

fundamentally called into question Justice Cooper’s ability to make decisions in the best interests

of the child. Consequently, Justice Cooper’s extrajudicial conduct with respect to the Sanctions

Decision precluded him from being an impartial arbiter at the child custody trial in Zappin v.

Comfort, which commenced in November 2015 just two (2) months after the Sanctions Decision.

       37.     Despite the clear basis for Justice Cooper’s recusal from the case based on his

improper, prejudicial and extrajudicial conduct associated with the Sanctions Decision, Justice

Cooper refused to step down from the case despite Plaintiff making a formal motion seeking his

recusal. Instead, he presided over the child custody trial that commenced on November 12, 2015.



                                                 16
    Case 3:20-cv-00210 Document 2 Filed 03/23/20 Page 17 of 21 PageID #: 23




However, Justice Cooper continued to engage in outrageous and prejudicial conduct throughout

the pre-trial proceedings and the custody trial itself that not only fundamentally called into question

the fairness of the Zappin v. Comfort proceeding, but that would make any reasonable observer

question Justice Cooper’s fitness to sit on the bench. (See, e.g., Ex. 8, Addendum of Justice

Cooper’s Misconduct and Biased Behavior in Zappin v. Comfort.)

       38.     The child custody trial in Zappin v. Comfort concluded on December 21, 2015 after

thirteen (13) days of trial. On February 29, 2016, Justice Cooper issued his Decision and Order

After Custody Trial (hereinafter “Custody Decision”). 9 Yet again, the Custody Decision, much

like the Sanctions Decision, was marred by Justice Cooper’s misconduct and contrived findings,

which is further set forth below. (See also Ex. 8, Addendum of Justice Cooper’s Misconduct and

Biased Behavior in Zappin v. Comfort.) However, it bears pointing out, Justice Cooper made

dozens upon dozens of “findings” in the Custody Decision adverse to Plaintiff that found no

support whatsoever in the trial record and that were outright fabricated. (See Ex. 9, Chart of Justice

Cooper’s Fabrications in Custody Decision provided by Plaintiff to Defendants.)

       39.     The Custody Decision, however, represented a change in course in the scheme by

Justice Kaplan, Justice Cooper and Kevin Doyle to discredit, disgrace and disbar Plaintiff. As the

“sua sponte” investigation fizzled as a basis for seeking retaliatory attorney discipline against

Plaintiff, it was conceived that the child custody trial and ultimately the Custody Decision could

be used to “short-circuit” the attorney disciplinary process. Specifically, the Custody Decision

was written and drafted by Justice Cooper in conjunction with Kevin Doyle and the NYAGC to

be used as a basis for seeking attorney discipline against Plaintiff. Indeed, as discussed infra, the



       9
          The Custody Decision is sealed pursuant to New York law. Defendant has a copy of it, however.
Plaintiff will provide a copy to the Court under seal.


                                                  17
    Case 3:20-cv-00210 Document 2 Filed 03/23/20 Page 18 of 21 PageID #: 24




NYAGC and Kevin Doyle used numerous fabricated findings made by Justice Cooper in the

Custody Decision as a basis to seek the imposition of attorney discipline via collateral estoppel on

Plaintiff.

        40.     With respect to the actual merits of the case, Justice Cooper ruled entirely against

Plaintiff. More specifically, Justice Cooper’s Custody Decision gave Ms. Comfort full custody of

Plaintiff and Ms. Comfort’s child. Although Justice Cooper denied Ms. Comfort and the Attorney

for the Child’s unfounded request that Plaintiff be entirely denied access to the child, 10 Justice

Cooper directed that Plaintiff continue to have limited supervised visitation with the child for at

least a period of eighteen (18) months at a cost of approximately $5,300 a month, despite the fact

that Plaintiff was jobless as a result of Justice Cooper’s extrajudicial misconduct of disseminating

the Sanctions Decision to the New York tabloids. As expected based on his publicly branding

Plaintiff a domestic abuser in the Sanctions Decision prior to trial, Justice Cooper credited Ms.

Comfort’s allegations of domestic violence and entered a five (5) year order of protection against

Plaintiff, which Ms. Comfort did not even request.

Plaintiff subsequently appealed Justice Cooper’s Custody Decision to the Appellate Division First

Department.     The Appellate Division First Department failed to address any of Plaintiff’s

contentions made on appeal and summarily affirmed Justice Cooper’s Custody Decision. This

was the same Appellate Division First Department that also heard the attorney disciplinary matter

brought against Plaintiff by the NYAGC, which as discussed infra granted the NYAGC’s April




        10
           Throughout the proceeding, there was never an allegation that Plaintiff had ever harmed or
attempted to harm the child. Rather, Plaintiff had two (2) years of spotless supervisor reports that
characterized him as a loving, caring and attentive father. Moreover, five (5) supervisors testified at trial
who all confirmed that they had never seen any behavior from Plaintiff that they believed was inappropriate,
a danger to the child or that would warrant supervised visitation.
                                                     18
    Case 3:20-cv-00210 Document 2 Filed 03/23/20 Page 19 of 21 PageID #: 25




22, 2016 Collateral Estoppel Petition based entirely on the Custody Decision before Plaintiff even

had an opportunity to appeal the Custody Decision.

         COUNT 1: NEGLIGENCE/LEGAL MALPRACTICE (WV Law License)
                             (All Defendants)

        41.     Plaintiff re-alleges and incorporates by reference paragraph 1 – 70 of this

Complaint as though fully set forth herein.

        42.     As legal counsel for Plaintiff, Defendants owed Plaintiff duties of professional care,

loyalty, diligence and skill.

        43.     By engaging in the conduct set forth above, Defendants failed to exercise ordinary

reasonable care and diligence used under the same or similar circumstances by attorneys and

thereby breached those duties of professional care owed to Plaintiff.

        44.     As a direct and proximate result of Defendants’ negligence and failure to exercise

reasonable diligence and care in their representation of Plaintiff, Plaintiff has suffered injury and

damages with respect to his West Virginia law license. These damages include, but are not limited

to, attorneys fees, lost wages and damage to his reputation. The total amount of Plaintiff’s injuries

and damages should be determined at trial.

          COUNT 2: NEGLIGENCE/LEGAL MALPRACTICE (DC Law License)
                              (All Defendants)

        45.     Plaintiff re-alleges and incorporates by reference paragraph 1 – 74 of this

Complaint as though fully set forth herein.

        46.     As legal counsel for Plaintiff, Defendants owed Plaintiff duties of professional care,

loyalty, diligence and skill.




                                                 19
    Case 3:20-cv-00210 Document 2 Filed 03/23/20 Page 20 of 21 PageID #: 26




       47.     By engaging in the conduct set forth above, Defendants failed to exercise ordinary

reasonable care and diligence used under the same or similar circumstances by attorneys and

thereby breached those duties of professional care owed to Plaintiff.

       48.     As a direct and proximate result of Defendants’ negligence and failure to exercise

reasonable diligence and care in their representation of Plaintiff, Plaintiff has suffered injury and

damages with respect to his District of Columbia law license. These damages include, but are not

limited to, fees, lost wages and damage to his reputation. The total amount of Plaintiff’s injuries

and damages should be determined at trial.

                            COUNT 3: BREACH OF CONTRACT
                                     (All Defendants)

       49.     Plaintiff re-alleges and incorporates by reference paragraph 1 – 78 of this

Complaint as though fully set forth herein.

       50.     Through the conduct alleged in this Complaint, Defendants materially breaches

their express and implied contractual obligations to Plaintiff that it would take all action legally

necessary and appropriate to protect Plaintiff’s interests in the collateral estoppel disciplinary

action; that it would perform all legal services with due care and diligence; and that it would

provide Plaintiff with professional, skilled and careful lawyers to handle the proceeding.

       51.     Moreover, Defendants breached each of the terms forth in Paragraph 58, where

such terms were material to the agreement that Plaintiff would allow Defendants to continue to

represent him in the collateral estoppel disciplinary proceeding.

                                  JURY TRIAL DEMANDED

       Plaintiff demands a jury on all issues which may be properly tried by jury.




                                                 20
    Case 3:20-cv-00210 Document 2 Filed 03/23/20 Page 21 of 21 PageID #: 27




                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that the Court:

       (a)     Enter judgment in favor of Plaintiff against Defendant

       (b)     Enter judgment award Plaintiff compensatory damages on all counts herein to

compensate Plaintiff for Defendants’ activities complained of herein and for any injury

complained of herein, inclusive of interests and costs, in an amounted to be determined at trial;

       (c)     Enter judgment awarding punitive, exemplary, enhanced and/or treble damages as

allowed by applicable state and federal law in an amount to be determined at trial;

       (d)     Enter judgment awarding Plaintiff his fees and costs reasonably incurred in this

action as allowed by applicable state and federal law; and

       (e)     Order such other relief that the Court deems just and appropriate.



Dated: March 23, 2020
       Huntington, WV




                                                     ____________________________
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                                                21
